                                         Bitcoin Services Agreement

      This Bitcoin Services Agreement ("Agreement") is entered into as of the last signature below by
      and between CLI Holdings Inc., with its principal place of business at 71 Columbia St, Suite 300,
      Seattle, WA 98104 ("CoinLab") and Timothy Draper Living Trust with its
      principal place of business or residence at ("Customer''). For good and
      valuable consideration the parties agree to the terms and conditions of this Agreement.

          1. Definitions.

                  a. "Bitcoin" means the same-named, de-centralized, digital artifacts regulated by
                      peer-to-peer networks and earned through an exchange for especially valuable
                      numbers acquired through computing power and verified by nodes on the peer-
                      to-peer network.

                  b. "CoinLab Storage" means the online storage system developed and hosted by
                      or for CoinLab.

                  c. "Confidential Information" means non-public information, technical data or
                      know-how of a party and/or its affiliates, which is furnished to the other party,
                      whether in tangible or intangible form, in connection with this Agreement that
                      would reasonably be deemed confidential in light of the nature of the
                      information or the circumstances of its disclosure. "Confidential Information"
                      includes the terms and conditions of this Agreement.

                  d. "Fees" has the definition set forth in Section 3.

                 e. "Mined Bitcoins" means Bitcoins mined by CoinLab for Customer pursuant to
                     the terms and conditions of this Agreement.

                 f. "Services" means the services that CoinLab provides to Customer under this
                      Agreement as further described in Section 2.

                 g. "Term" means 1 years unless the Agreement earlier terminated pursuant to the
                     terms and conditions herein.

                 h. "Wind Down Period" means the period of time extending 12 months after the
                     Term of the Agreement

         2. Services. CoinLab will make commercially reasonable efforts to mine
                   36231.844057971 Bitcoins on Customer's behalf during the Term. CoinLab
             will promptly deliver to Customer the Bitcoins ordered as they are mined by CoinLab on
             the condition that Customer acknowledges and agrees that no delivery of Mined
             Bitcoins \s expected to occur before July 1,2013. After July 1, 2013, CoinLab will deliver
             to Customer a monthly account of Mined Bitcoins compared with Bitcoins ordered.




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             CoinLab will deliver to Customer Mined Bitcoins via the CoinLab Storage. Customer may
             retain Mined Bitcoins in the CoinLab Storage through the Wind Down Period.

         3. Fees. In exchange for performing the Services, Customer will pay CoinLab a total of
             $ 6.9 USD per Bitcoin, for a total of$ 250000 USD ("Fees"). Customer will pay
             CoinLab the Fees within 10 days of the effective date. Each party will bear its own taxes
             as levied under applicable law.

         4. Termination. Either party may suspend its performance or terminate this Agreement:

                 a. If the other party materially breaches this Agreement (other than the
                      confidentiality obligations in Section 6) and fails to cure that breach within 30
                      days after receiving notice;

                 b. Immediately upon notice if the other party materially breaches the
                     confidentiality obligations in Section 6;

                 c Immediately upon notice if the other party is Insolvent. "Insolvent" means: (i)
                      becoming insolvent; (ii) admitting in writing the inability to pay debts as they
                      mature; making a general assignment for the benefit of creditors; (iii) suffering
                     or permitting the appointment of a trustee or receiver for all or any assets
                     (unless such appointment is vacated or dismissed within 60 days after
                     appointment); (iv) filing (or having filed) any petition as a debtor under any
                     provision of the federal Bankruptcy Code or any state law relating to insolvency,
                     unless such petition and all related proceedings are dismissed within 60 days of
                     such filing; being adjudicated insolvent or bankrupt; (v) having wound up or
                     liquidated; or (vi) ceasing to carry on business.

                 d. Immediately upon notice in the event that performing the Services becomes
                     impracticable or impossible including, without limitation, in the event that
                     applicable laws or regulations have changed in a way that materially affects the
                     provision of Services under this Agreement in either party's reasonable
                     discretion.

         5. Effects of Termination or Expiration. Upon expiration or termination of the Agreement,
             sections that were, by their nature, intended to survive will so survive. Customer will
             collect all of its Mined Bitcoins from the CoinLab storage by the end of the Wind Down
             period; if it fails to do so, all rights in and to such Mined Bitcoins will and does revert to
             CoinLab. In the event that the Agreement expires or terminates before all Mined
             Bitcoins ordered by Customer have been delivered to Customer, CoinLab will refund to
             Customer US Dollars by the following formula:
                      USD Fee Paid - (Bitcoins Delivered / Bitcoins Ordered) * (USD Fee Paid)

        6. Confidentiality. Neither party will use the other's Confidential Information except as
            reasonably required for the performance of this Agreement. Each party will hold in
            confidence the other's Confidential Information by means that are no less restrictive
            than those used for its own similar confidential materials and in no case less than




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              reasonable care. Each party agrees not to disclose the other party's Confidential
              Information to anyone other than its employees or subcontractors who are bound by
              confidentiality obligations and who need to know the same to perform such party's
              obligations hereunder or who need to know the same for purposes of internal business
              administration such as the provision of legal or accounting services.

          7. Warranties. CoinLab warrants that the Services will be performed consistently with
             industry standards for Bitcoin mining or manufacture. Customer warrants that it will not
             exchange Bitcoins for any illegal material, illegal services, or contraband under any
             applicable laws. Customer also warrants that it will be responsible for all necessary
             government approvals and taxes with regard to the exchange of Bitcoins. Customer will
             indemnify, defend, and hold harmless CoinLab from any allegation, claim, or litigation
             proceeding (including all associated costs and attorneys' fees) arising from Customer's
             breach of this Section, and this indemnity obligation will survive termination or
             expiration of the Agreement.

          8. Disclaimer of Warranties. EXCEPT AS EXPRESSLY STATED IN THIS AGREEMENT, COINLAB
             DISCLAIMS ALL WARRANTIES, EXPRESS AND IMPLIED, INCLUDING, WITHOUT
             LIMITATION, IMPLIED WARRANTIES OF MERCHANTIBILITY AND FITNESS FOR A
             PARTICULAR PURPOSE. CUSTOMER UNDERSTANDS AND AGREES THAT THE SERVICES
             AND BITCOINS ARE THE RESULT OF RELATIVELY NEW TECHNOLOGIES AND MARKET
             EXCHANGES AND MAY BE SUBJECT TO FUTURE LAWS, REGULATIONS, CHANGES IN
             TECHNOLOGY, AND OTHER FORCES, NOT WITHIN COINLAB'S CONTROL, AND THAT ANY
             SUCH CHANGES COULD RENDER THIS AGREEMENT IMPRACTICABLE OR IMPOSSIBLE TO
             PERFORM. COINLAB MAKES NO WARRANTIES REGARDING THE MONETARY VALUE OR
             FUTURE EXCHANGE RATES OF BITCOINS. COINLAB MAKES NO WARRANTIES
             REGARDING THE ABILITY OF PEER-TO-PEER NETWORKS OR OTHER TECHNOLOGIES TO
             ISSUE BITCOINS OR TO REGULATE, OR OTHERWISE MANAGE THE BITCOIN MARKET.
             EXCEPT AS EXPRESSLY STATED IN THIS AGREEMENT ALL ASSOCIATED RISKS RESIDE WITH
             CUSTOMER.


         9. Limitation of Liabilities. TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT
             WILL EITHER PARTY BE LIABLE FOR ANY INDIRECT, INCIDENTAL, CONSEQUENTIAL,
             PUNITIVE, SPECIAL, OR EXEMPLARY DAMAGES ARISING OUT OF OR THAT RELATE IN ANY
             WAY TO THIS AGREEMENT OR ITS PERFORMANCE. THIS EXCLUSION WILL APPLY
             REGARDLESS OF THE LEGAL THEORY UPON WHICH ANY CLAIM FOR SUCH DAMAGES IS
             BASED, WHETHER THE PARTIES HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH
             DAMAGES, WHETHER SUCH DAMAGES WERE REASONABLY FORESEEABLE, OR WHETHER
             APPLICATION OF THE EXCLUSION CAUSES ANY REMEDY TO FAIL OF ITS ESSENTIAL
            PURPOSE. THE PARTIES WILL NOT BE LIABLE FOR ANY DIRECT DAMAGES THAT EXCEED
            THE AMOUNT OF FEES PAID UNDER THIS AGREEMENT. THIS SECTION WILL NOT APPLY
            TO ANY INDEMNITY OBLIGATIONS UNDER THIS AGREEMENT.


         10. Miscellaneous.

                 a. Assignment. This Agreement may not be assigned by either party without the
                     prior written approval of the other party. Notwithstanding the foregoing,
                     CoinLab may assign this Agreement to: (i) a parent or subsidiary; (ii) an acquirer




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                              of all or substantially all of CoinLab assets (or all or substantially all of the
                              CoinLab assets relating to this Agreement); or (iii) a successor by merger or
                              other combination. Any purported assignment in violation of this Section will be
                              void.

                        b.    Governing Law. This Agreement will be governed and interpreted in
                              accordance with Seychelles Jaw. Any dispute relating to the terms,
                              interpretation, or performance of this Agreement or the dealing of the parties
                              under this Agreement will be resolved at the request of either party through
                             binding arbitration. Arbitration will be conducted in the city of Seattle
                             Washington under the rules and procedures of the American Arbitration
                             Association ("AAA").

                    c.       Force Majeure. Neither party will be deemed in default of this Agreement to
                             the extent that performance of its obligations or attempts to cure any breach
                             are delayed or prevented by reason of any act of God, fire, natural disaster,
                             accident, act of government, shortages of materials or supplies, internet
                             outages or other cause beyond the control of such party ("Force Majeure")
                             provided that such party makes commercially reasonable efforts to promptly
                             notify the other. In the event of such Force Majeure, the time for performance
                             or cure will be extended for a period equal to the duration of the Force
                             Majeure.

                   d. Relationship of parties. The parties are independent contractors and have no
                             authority to act on behalf of or bind the other. This Agreement does not create
                             an employment, agency, or partnership relationship or grant a franchise.

                   e. Entire Agreement. This Agreement states the entire agreement between the
                             parties on the subject and supersedes all prior negotiations, understandings,
                             and agreements between the parties concerning the subject matter. No
                             amendment or modification of this Agreement will be made except by a writing
                             signed by both parties.

                   f.        Counterparts. This Agreement may be executed in two or more counterparts,
                             each of which will be deemed an original and all of which together will
                             constitute one instrument.

       So agreed by the parties:




       Printed          Name:T^r7/^^TK                        P<riTlr^dj!Jawet:rffrToTFry Draper Living Trust
      Title: UFD                                              Title: Trustee
      Date: \2\20\O.                                          Date: j&dJZEk




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